            Case 5:19-cv-00092-DAE Document 2 Filed 02/01/19 Page 1 of 4
                                                                                            RECEIVED
                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS                                    FEB 0 12019
                                     SAN ANTONIO DIVISION                              CLEpiç, U.S 0181
                                                                                         8TERN1g
STEPHEN SPARKS




3M COMPANY

                       MOTION FOR ADMISSION PRO HAC VICE
TO THE HONORABLE JUDGE OF SAID COURT:

       Comes ic       Scott R. Bickford
                                                                            ,   applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent Stephen Sparks                                        in this case, and

would respectfully show the Court as follows


              Applicant is an attorney and a member of the law firm (or practices under the name of)
               Martzell, Bickford & Centola                               with offices at

              Mailing address 338 Lafayette Street

              City, State, Zip Code: New Orleans, LA 70130

              Telephone: 504-581-9065                      Facsimile: 504-581-7635


       2.     Since     4/1983 LA, 12/1990 TX, 5/1992 CO     ,   Applicant has been and presently is a

              member of and in good standing with the Bar of the State of LA, Texas & Colorado

              Applicant's bar license number is 01165 LA, 02295200 TX, 021496 CO


       3.     Applicant has been admitted to practice before the following courts:

              Court:                                       Admission date:
              U.S. Supreme Court                           3/21/1988

              USDC/EDLA, WDLA, MDLA                        4/21/1983; 1984; 7/26/1989

              USDC/EDTX, SDTX, NDTX                        3/27/1989; 4/5/1989; 10/21/2009
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    4.      Applicant is presently a member in good standing of the bars of the courts listed above,

            except as provided below (list any court named in the preceding paragraph before which

            Applicant is no longer admitted to practice):




    5.      I      have         have not previously applied to Appear Pro Hac Vice in this district

            court in Case[s]:

            Number:                              on the        day of_________________

            Number:                              on the        day of_________________
            Number:                              on the        day of_________________
    6.      Applicant has never been subject to grievance proceedings or involuntary removal

            proceedings while a member of the bar of any state or federal court, except as

            provided:

            N/A




    7.     Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

           except as provided below (omit minor traffic offenses):

           N/A




    8.     Applicant has read and is familiar with the Local Rules of the Western District of Texas

           and will comply with the standards of practice set out therein.
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          9.      Applicant will file an Application for Admission to Practice before the United States

                  District Court for the Western District of Texas, if so requested; or Applicant has

                  co-counsel in this case who is admitted to practice before the United States District

                  Court for the Western District of Texas.

                  Co-counsel:

                  Mailing address:

                  City, State, Zip Code:

                  Telephone:


          Should the Court grant applicant's motion, Applicant shall tender the amount of$lOO.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Scott R. Bickford                          to the Western District of Texas pro hac vice for this case only.


                                                        Respectfully submitted,
                                                         Scott R. Bickford




                                      CERTIFICATE OF SERVICE

          I hereby certif,' that I have served a true and correct copy of this motion upon each attorney of

                                                                    day of January
record and the original upon the Clerk of Court on this the
                                                              3/
                                                        Scott R. Bickford




                                                        fgnature 4pplicant]
               Case 5:19-cv-00092-DAE Document 2 Filed 02/01/19 Page 4 of 4
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                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

    STEPHEN SPARKS

    vs.                                                        Case No.:

    3MCOMPANY                                SA19CA.ç.
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           BE iT REMEMBERED on this day, there was presented to the Court the Motion for

    Admission Pro Hac Vice filed by Scott R. Bickford                                          ,   counsel for
    Stephen Sparks                                         ,   and the Court, having reviewed the motion, enters

    the following order:

           IT IS ORDERED that the Motion for Admission Pro Hac Vice is GRANTED, and

    Scott R. Bickford                      may appear on behalf of Stephen Sparks

    in the above case.

           IT IS FURTHER ORDERED that Scott R. Bickford                                                 if he/she
    has not already done so, shall immediately tender the amount of$lOO.00, made payable to: Clerk, U.S.

    District Court, in compliance with Local Court Rule AT-l(f)(2).

           SIGNED this the 31st          day of January                                    20_19




                                                               Please Choose Judge
